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STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF HENNEPIN                                              FOURTH JUDICIAL DISTRICT


Minagua S. Michaeleon,
                                                                 COMPLAINT WITH
                     Plaintiff,                                   JURY DEMAND

vs.
                                                           Court File No:
City of Minneapolis; and Officer Sundiata
Bronson and Officer Heather Sterzinger, in                 Case Type: Other
their individual and official capacities,
                                                          Judge:
                   Defendants.



                                         INTRODUCTION

1. This is an action for money damages brought pursuant to 42 U .S.C. §§ 1983 and 1988, and

      the First and Fourth Amendments to the United States Constitution against the City of

      Minneapolis and Officers Bronson and Sterzinger, in their individual and official capacities.

2. It is alleged that the Defendants retaliated against Plaintiff for exercising his First

      Amendment rights and made an unreasonable seizure of Plaintiffs person, violating his

      rights under the Fourth Amendment to the United States Constitution.



                                               VENUE

3. Venue is proper in this Court pursuant to Minn. Stat. §§ 542.03 and 532.09, in that this cause

      of action arose in Hennepin County, MN.




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                                          PARTIES

4. Plaintiff Minagua Michaeleon was at all material times a resident of the State of Minnesota

   and of full age.

5. Defendant Police Officers Bronson and Sterzinger were at all times relevant to this complaint

   duly appointed and acting officers of the police department of the City of Minneapolis, acting

   under color of law, to wit, under color of the statutes, ordinances, regulations, policies,

   customs and usages of the State of Minnesota and/or the City of Minneapolis.

6. The City of Minneapolis, Minnesota, is a municipal corporation and the public employer of

   the Defendant Officers.



                                            FACTS

7. On April 30, 2012, at approximately 8:30 p.m. , Mr. Michaeleon visited the YMCA in

   downtown Minneapolis. Upon arrival , Mr. Michaeleon proceeded to the front desk and

   presented his membership card to the YMCA employee attending the desk.

8. Mr. Michaeleon recognized the front desk attendant and the two engaged m a brief

   conversation. Mr. Michaeleon noticed that the YMCA employee became upset during the

   conversation, but Mr. Michaeleon was never asked or ordered to leave. When Mr.

   Michaeleon noticed that the YMCA employee had become upset, Mr. Michaeleon proceeded

   to the locker room.

9. Once inside the locker room, Mr. Michaeleon noticed several other men going about their

   business. Mr. Michaeleon then undressed and proceeded to take a shower in the shower area.

10. Shortly after, Mr. Michaeleon heard the YMCA employee in close proximity. Mr.

   Michaeleon then looked in the same direction and saw the YMCA employee and Defendant



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   Officers Bronson and Sterzinger standing inside the shower area. Mr. Michaeleon was

   completely nude at the time and observed both Defendant Officers looking directly at him.

   Officer Bronson then approached Mr. Michaeleon and, without any warning or instructions

   whatsoever, grabbed hold of Mr. Michaeleon and slammed him to the tile floor. Mr.

   Michaeleon did not threaten, resist, or interfere with the Officers in any way prior to being

   thrown to the ground. Mr. Michaeleon experienced severe pain and discomfort from Officer

   Bronson's unnecessary assault.

11. Next, both Defendant Officers stomped, kneed, and kicked Mr. Michaeleon on his neck,

   back, and sides without justification. Mr. Michaeleon was not threatening, resisting, or

   interfering with the Defendant Officers in any way during the kneeing, stomping, and kicking

   and had fully submitted to the Defendant Officers. Mr. Michaeleon experienced severe pain

   and discomfort from the Defendant Officers' unnecessary assault.

12. After they finished assaulting Mr. Michaeleon, the Defendant Officers handcuffed Mr.

   Michaeleon behind his back and lifted him to his feet. At this time, Mr. Michaeleon stood

   completely nude and handcuffed behind his back in front of two police officers, one of whom

   was a female , which caused him to suffer severe shame, humiliation, and embarrassment.

13. The Defendant Officers then walked Mr. Michael eon out of the shower room and back into

   the locker room. Mr. Michaeleon observed a number of other men in the locker room, which

   caused further shame, humiliation, and embarrassment.

14. The Defendant Officers then demanded to know where Mr. Michaeleon's locker was located,

   and Mr. Michaeleon immediately provided his locker number. Defendant Officer Sterzinger

   acted with particular cruelty and humiliation towards Mr. Michaeleon. Officer Sterzinger

   used a sadistic and demeaning tone of voice towards Mr. Michaeleon and repeatedly yelled



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   and swore at Mr. Michaeleon, using the tenns "fuck," "fucking," and "shit" towards Mr.

   Michaeleon with surprising frequency.

15 . It was clear that Defendant Officer Sterzinger was taking advantage of the situation to

   intentionally humiliate and dehumanize Mr. Michael eon in front of other men and Defendant

   Officer Bronson. Mr. Michaeleon offered no resistance or interference with the Defendant

   Officers, and Defendant Officer Sterzinger should have never entered the locker room and

   should have exited the locker room after Mr. Michaeleon was handcuffed. Instead, Defendant

   Officer Sterzinger stayed inside the locker room for the sole purpose of humiliating,

   embarrassing, and degrading Mr. Michaeleon in front of others. It was also clear that

   Defendant Officer Sterzinger was enjoying psychologically abusing Mr. Michaeleon in front

   of other men.

16. Shortly after, the Defendant Officers partially dressed Mr. Michaeleon, took him outside, and

   placed him in their squad. On the way to the squad, Officer Sterzinger yelled at Mr.

   Michaeleon, "I fucking go you! I got you now!"

17. After placing Mr. Michaeleon in the squad, the Defendant Officers waited for the YMCA

   employee to issue Mr. Michaeleon a trespass notice and then started to drive away, with Mr.

   Michaeleon still in the squad. While driving, Mr. Michaeleon observed the Defendant

   Officers almost striking a pedestrian with their vehicle as a result of negligent driving and

   commented that the Officers almost hit a pedestrian. In response to his comment, Defendant

   Officer Sterzinger threatened to take Mr. Michaeleon to jail. While being transported, Mr.

   Michaeleon also heard Defendant Officer Bronson stating that Mr. Michaeleon had bruises

   on his back before the incident, which was not true.




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18. The Defendant Officers then drove to the Salvation Army in Downtown Minneapolis,

   ordered Mr. Michaeleon out of the squad, un-handcuffed him, returned his property, and

   instructed him to walk away and sit on a wall approximately 20 feet away. Mr. Michaeleon

   followed the Officers' directive and went to sit on the wall near the Salvation Army.

19. While sitting on the wall, as directed by the Defendant Officers, Mr. Michaeleon observed

   the Defendant Officers sitting in the squad. Shortly after, Mr. Michaeleon observed

   Defendant Officer Sterzinger throw a piece of paper or tissue out of the squad window and to

   the ground. Mr. Michaeleon, surprised that a Minneapolis Police Officer would throw trash

   out her window, stated to the Defendant Officers, "Did I just see a Minneapolis employee

   litter?" Mr. Michaeleon did not threaten the Officers in any way and did not attempt to

   approach them prior to or while making this statement.

20. Immediately after Mr. Michaeleon made this statement, the Defendant Officers exited their

   squad, approached Mr. Michaeleon, grabbed him by the neck, and pushed him to the ground

   without any warnings or instructions. Mr. Michaeleon remained seated while the Defendant

   Officers approached and did not threaten or resist the Officers in any way. The Defendant

   Officers then used their fingers to apply pressure behind Mr. Michaeleon's ears without

   justification and for the sole purpose of hurting and injuring Mr. Michaeleon. As they

   assaulted Mr. Michael eon, the Defendant Officers remarked, "You just don't know when to

   shut up" and, "You're going to jail."

21. The Defendant Officers then handcuffed Mr. Michaeleon, placed him back inside the squad,

   and transported and booked him into the Hennepin County Jail. On the way to the jail, the

   Defendant Officers intentionally drove the squad erratically, causing Mr. Michaeleon to

   bounce around in the backseat. The Defendant Officers laughed at Mr. Michaeleon on the



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   way to the jail and stated that they will report him as being uncooperative even though Mr.

   Michaeleon had been fully cooperative throughout the entire incident. The Defendant

   Officers then booked Mr. Michaeleon into the Hennepin County Jail, where Mr. Michaeleon

   was detained overnight.

22. As a result of the Defendants' actions, Mr. Michaeleon suffered physical pain and discomfort

   during and after the incident.

23 . As a result of the Defendants' actions, Mr. Michaeleon suffered long-term mJunes and

   bruising to his back, neck, left shoulder, and ribs.

24. As a result of the Defendants' actions, Mr. Michaeleon suffered emotional trauma and

   distress, shame, humiliation, embarrassment, fear, insecurity, stress, and diminished quality

   and enjoyment of life.

25. As a result ofthe Defendants' actions, Mr. Michaeleon was unlawfully arrested and suffered

   loss of freedom and liberty.

26. As a result of the Defendants' actions, Mr. Michaeleon required medical treatment and has

   incurred medical expenses.



                                     INJURIES SUFFERED

27. As a direct and proximate result of the said acts of the Defendants, Plaintiff suffered the

   following injuries and damages:

       a. Violation of his constitutional right to freedom of speech under the First Amendment

           to the United States Constitution;

       b. Violation of his constitutional right under the Fourth Amendment to the United States

           Constitution to be free from unreasonable seizures of his person;



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       c. Physical pain and suffering, in an amount in excess of $75,000;

       d. Emotional trauma and suffering, in an amount in excess of $75,000;

       e. Loss of liberty and freedom, in an amount in excess of $75,000;

       f.   Medical expenses.



                                     CLAIMS FOR RELIEF


  COUNT     1:42 U.S.C. § 1983- FIRST AMENDMENT RETALIATION AGAINST THE INDIVIDUAL
                                            DEFENDANTS


28. Paragraphs 1 through 27 are incorporated herein by reference as though fully set forth.

29. Based on the above factual allegations, the Defendant Officers, through their actions, acting

   under the color of state law, violated Plaintiffs constitutional right to free speech under the

   First Amendment to the United States Constitution. Specifically, Plaintiff exercised his right

   to free speech protected by the First Amendment when he criticized the Defendant Officers,

   and the Officers took action against Plaintiff that was sufficiently serious to chill a person of

   ordinary firmness from engaging in protected speech when they assaulted, threatened to jail,

   arrested, and jailed Plaintiff without justification. The Defendant Officers engaged in this

   conduct against Plaintiff in retaliation for Plaintiff exercising his First Amendment right to

   free speech.

30. As a result of these constitutional violations, Plaintiff suffered damages as aforesaid.


COUNT 2:    42   U.S.C.   § 1983- FOURTH   AMENDMENT UNREASONABLE SEIZURE AND EXCESSIVE
                              FORCE AGAINST INDIVIDUAL DEFENDANTS


31. Paragraphs 1 through 27 are incorporated herein by reference as though fully set forth.

32. Based on the above factual allegations, the Defendant Officers, through their actions, acting

   under the color of state law, violated Plaintiffs constitutional right to remain free from


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   unreasonable seizures and use of excessive force under the Fourth Amendment to the United

   States Constitution when they assaulted Plaintiff without justification.

33 . As a result ofthese constitutional violations, Plaintiff suffered damages as aforesaid.


  COUNT    3: 42 U.S.C. § 1983- FOURTH AMENDMENT UNREASONABLE SEIZURE AND FALSE
                           ARREST AGAINST INDIVIDUAL DEFENDANTS

34. Paragraphs 1 through 27 are incorporated herein by reference as though fully set forth.

35. Based on the above factual allegations, the Defendant Officers, through their actions, acting

    under the color of state law, violated Plaintiffs constitutional right to remain free from

    unreasonable seizures under the Fourth Amendment to the United States Constitution when

   the Defendant Officers arrested Plaintiff, took him into custody, and booked him into the

   Hennepin County Jail, all without a warrant and without probable cause to believe that

   Plaintiff had committed a crime.

36. As a result of these constitutional violations, Plaintiff suffered damages as aforesaid.


    COUNT    4: 42 U.S.C. § 1983- FIRST AMENDMENT RETALIATION AGAINST THE CITY OF
                                           MINNEAPOLIS


37. Paragraphs 1 through 27 are incorporated herein by reference as though fully set forth.

38. Prior to April 30, 2012, Defendant City of Minneapolis developed and maintained policies

    and/or customs exhibiting deliberate indifference towards the constitutional rights of persons

    in the City of Minneapolis or in the custody of the City of Minneapolis, which caused the

    violations ofPlaintiffs' constitutional rights.

39. It was the policy and/or custom of Defendant City of Minneapolis to inadequately supervise

   and train its employees, including the Defendant Officers, thereby failing to adequately

    prevent and discourage further constitutional violations on the part of its employees.




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40. As a result of these policies and/or customs and lack of training, employees of the City of

   Minneapolis, including the Defendant Officers, believed that their actions would not be

   properly monitored by supervisory employees and that misconduct would not be investigated

   or sanctioned, but would be tolerated.

41. These policies and/or customs and lack of training were the cause of the violations of

   Plaintiffs constitutional rights alleged herein.


                                     RELIEF REQUESTED

WHEREFORE, Plaintiff requests that this Court grant the following relief:

a. Issue an order granting Plaintiff judgment against Defendants, finding that Defendants

   violated Plaintiffs constitutional rights under the First and Fourth Amendments to the United

   States Constitution and that Defendants are liable to Plaintiff for all damages resulting from

   these violations;

b. Award of compensatory damages to Plaintiff against all Defendants, jointly and severally;

c. Award of punitive damages to Plaintiff against all Defendants, jointly and severally;

d. Award of reasonable attorney' s fees and costs to Plaintiff pursuant to 42 U.S .C. § 1988;

e. A ward of such other and further relief as this Court may deem appropriate.

                       THE PLAINTIFF HEREBY DEMANDS A JURY TRIAL.


                                     THE LAW OFFICE OF ZORISLAV R. LEYDERMAN

Dated: October 27, 2014                        By: s/ Zorislav R. Leyderman
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